          Case 3:18-cv-06830-RS Document 131-9 Filed 04/28/21 Page 1 of 3




LONDON N. BREED
President, Board of Supervisors
District 5

For Immediate Release: Thursday, January 28, 2016
Press Contacts: Gloria Chan, 415.554.6926, Gloria.Chan@sfgov.org
                Vallie Brown, 415.554.7687, Vallie.Brown@sfgov.org

                                  **PRESS RELEASE**

    San Francisco and Board President London Breed Invite
     Interest in the Purchase of Former Fillmore Jazz Club
  City Announces Interim Activation Program to Facilitate Community Uses and
                     Bring Activity to the Fillmore Corridor

San Francisco, CA—Today, the Office of Economic and Workforce Development and President
of the Board of Supervisors London Breed announced the release of a Request for Information
(RFI) to invite interest in the purchase and repurposing of the commercial portions of the former
Fillmore Jazz Club, formally known as the Fillmore Heritage Center, located at the corner of
Fillmore and Eddy Streets in the Western Addition neighborhood of San Francisco. The
announcement also includes interim plans to activate the Fillmore Heritage Center with
community programming.

“The City is committed to ensuring this site emerges as a vibrant commercial venue that
provides substantial and sustained benefits to the Fillmore corridor and the Western Addition
community,” said Mayor Lee. “We are working diligently to welcome new investment to the
corridor, including at the Fillmore Heritage Center site, with neighborhood serving and African
American-owned businesses to serve the community.”

The City is releasing the RFI to encourage proposals that creatively incorporate one or more
commercial and community uses, such as the performing arts, visual and media arts, food,
recreation and leisure. The City is ultimately interested in identifying competitive proposals that
can balance bid price, business plan, and community benefits in order to achieve these goals
and the city will set up appropriate mechanisms to ensure the community benefits are delivered.
In addition, the City is making the space inside the Fillmore Heritage Center available to the
public on an interim basis while the City seeks new ownership of this important neighborhood
asset.

“The entrepreneurial spirit is strong in the Fillmore,” said President London Breed, President of
the Board of Supervisors and representing District 5. “New businesses like Black Bark BBQ,
from the owners of the acclaimed 1300 on Fillmore, State Bird Provisions, and Wise Sons Deli,
opening their first bagel bakery next month, demonstrate that this neighborhood continues to
play an important role in the cultural life of San Francisco. We think this site is a great
         Case 3:18-cv-06830-RS Document 131-9 Filed 04/28/21 Page 2 of 3



opportunity and I’m excited to see what creative, community-oriented ideas come to light
through this process.”

The RFI seeks to invite interest from both prospective purchasers with a track record developing
and operating other sites similar to this property, and from individuals or organizations
interested in partnering with prospective purchasers in order to enhance the operations and/or
the community benefits components of the project. The information received through the RFI
will be used to finalize the selection criteria for a forthcoming Request for Proposals (RFP) with
an anticipated release in spring 2016. Proposals submitted in response to the RFP will be
reviewed by a representative team of Western Addition community members and City staff.

The Office of Economic and Workforce Development and Supervisor[ Breed will host an
informational meeting February 8, 2016 at 6:30 pm at 1330 Fillmore, to answer any questions
about the RFI and share general information about the forthcoming RFP process. A tour of the
property will be held on February 8, 2016 at 5:30pm at 1330 Fillmore, in advance of the
meeting.

The Fillmore Heritage Center, one of the last projects from the Western Addition
Redevelopment program, was developed as a multi-use facility whose goal was both to
revitalize the commercial corridor and to honor the cultural heritage of the neighborhood, which
prior to Urban Renewal was considered “Harlem of the West” for its sizable community of
African American residents and African American-owned businesses, many of them music
venues.

The Property consists of the commercial portion of a mixed-use building as well as the adjacent
parking garage. The commercial portion of the building is 50,000 square feet and includes a
28,000-square-foot entertainment venue/restaurant and a 6,000-square-foot restaurant/lounge.
The 28,000-square-foot entertainment venue/restaurant is currently vacant after previously
being operated as the jazz clubs Yoshi’s and The Addition. The Addition closed in January
2015. The 6,000-square-foot restaurant/lounge 1300 on Fillmore is currently leased and
operational. If 1300 on Fillmore is ultimately included in the sale of the Property, the City would
assign a long-term lease to the eventual purchaser. The Property also includes the adjacent
112-space public parking garage with access through the building lobby. The available Property
does not include the residential portion of the mixed-use development.

The Community Activation Program in the Fillmore Heritage Center will enable community
usage of the space during the RFI and RFP processes. The program aims to provide a vehicle
for community building as well as to stimulate foot traffic to this block and the corridor in
advance of the arrival of new businesses to the site. By late March, the program will invite
reservations from community groups to facilitate classes, meetings, and events in the building’s
lobby, screening room, and gallery space at a discounted rental rate. The Community
Activation Program operator will provide scheduling and basic logistical infrastructure for weekly
programming. More information will be available at www.investsf.org/neighborhoods/lower-
fillmore-street/ in February.

For information on the RFI, how to apply for the RFP community selection committee and
history of the Fillmore Heritage Center (including a review of existing debt obligations), floor
plans, and a list of frequently asked questions, please visit:
http://sfgov.org/realestate/documents

                                              - more-
        Case 3:18-cv-06830-RS Document 131-9 Filed 04/28/21 Page 3 of 3



Submissions for the RFI are due on March 4, 2016. All questions or clarifications may be
directed to Derick Brown at the contact information below. Inquiries should be submitted in
writing, if possible.

              Derick Brown, Director
              Mayor’s Office of Neighborhood Services
              City Hall, Room 160
              1 Dr. Carlton B. Goodlett Place
              San Francisco, California 94102
              Direct: 415-554-6475, mons.info@sfgov.org


                                              ###
